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      EVELOZCITY, INC.
 16
 17                        UNITED STATES DISTRICT COURT
 18                      CENTRAL DISTRICT OF CALIFORNIA
 19                               WESTERN DIVISION
 20   FARADAY&FUTURE, INC.,                  Case No. 2:18-cv-00737-DMG
 21               Plaintiff,                 DEFENDANT EVELOZCITY, INC.'S
                                             CORPORATE DISCLOSURE
 22         v.                               STATEMENT PURSUANT TO FED.
                                             R. CIV. P. 7.1
 23   EVELOZCITY, INC.,
 24               Defendant.
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Case 2:18-cv-00737-DMG-RAO Document 16 Filed 02/20/18 Page 2 of 3 Page ID #:55



  1        DEFENDANT EVELOZCITY INC.’S CORPORATE DISCLSOURE
  2                                     STATEMENT
  3         Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned, counsel of
  4   record for Defendant EVelozcity, Inc. (“EVelozcity”), hereby files this corporate
  5   disclosure statement, and discloses the following:
  6         EVelozcity is a wholly owned subsidiary of its corporate parent EVelozcity
  7   Holdings Ltd. Neither EVelozcity nor EVelozcity Holdings Ltd. is a publicly traded
  8   corporation. No publicly held corporation owns 10% or more of EVelozcity’s stock.
  9
      Dated:      February 20, 2018                Respectfully submitted,
 10
 11                                                By: /s/ Neel Chatterjee
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  1                              CERTIFICATE OF SERVICE
  2         I hereby certify that I electronically filed the foregoing document, including
  3   all of its attachments with the Clerk of the Court for the United States District Court
  4   for the Central District of California by using the CM/ECF system on February 20,
  5   2018. I further certify that service will be accomplished by the CM/ECF system
  6   and paper copies shall be served by first class mail, postage prepaid on all counsel
  7   who are not served through CM/ECF system.
  8
            I certify under penalty of perjury that the foregoing is true and correct.
  9
      Executed on February 20, 2018.
 10
                                             /s/ Neel Chatterjee
 11                                          NEEL CHATTERJEE
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